                                   COURT OF APPEALS
                                EIGHTH DISTRICT OF TEXAS
                                     EL PASO, TEXAS

                                                §
 In Re: Dish Network L.L.C. and                                 No. 08-16-00300-CV
 Echosphere L.L.C.,                             §
                                                          AN ORIGINAL PROCEEDING
                             Relators.          §
                                                                    IN MANDAMUS
                                                §

                                                §

                                                §

                                           ORDER


       The Court has this day considered the Relator’s motion for emergency stay and concludes

the motion should be GRANTED. Further proceedings and the Order Granting Plaintiff’s Motion

to Compel Responses to Requests for Production Regarding Disqualification signed on November

2, 2016, by the Honorable Luis Aguilar are hereby stayed in cause number 2016-DCV-2745,

styled Yvette Delgado v. Dish Network L.L.C. and Echosphere L.L.C., pending the resolution of

the petition for writ of mandamus or further order of this Court.


       IT IS SO ORDERED this 8th day of November, 2016.



                                                     PER CURIAM

Before McClure, C.J., Rodriguez and Hughes, JJ.
